Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 1 of 23 PageID: 129




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   I.D. No. 005662003
   Mario Rosario,                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF NEW JERSEY

                         Plaintiff,                DOCKET NO: 2:19-cv-16700 (JM-JBC)
                    v.

                                               CIVIL ACTION
   Officer Carmelo Jimenez, Officer Jessica De
   Jesus, Special Agent Jeffrey Varon, JOHN
   DOES 1-29 (Fictitious Individuals), City of
   Perth Amboy, Perth Amboy Police             FIRST AMENDED COMPLAINT AND
   Department, ABC CORPS 1-30 (Fictitious JURY DEMAND
   Corps), Jointly and Severally, Official and
   Individual Capacities.

                         Defendants.
          Plaintiff Mario Rosario, who resided in Edison, NJ, and whose business was/is

   located at 266 Fayette Street/351 Elm Street, Perth Amboy, NJ at the time this incident

   occurred, by way of complaint against the Defendants says:



                                       JURISDICTION


   1.     This Court has jurisdiction over Plaintiff’s New Jersey state law claims under the

   New Jersey Civil Rights Act and has Jurisdiction to hear Plaintiff’s Federal Civil rights

   claims. Jurisdiction of this Court is proper pursuant to 28 U.S.C. §§1331 and 1343(a)(3)-

   (4), in that claims are brought under 42 U.S.C. §1983 for the redress of rights secured by

   the Fourteenth Amendment to the United States Constitution. Plaintiff’s claims for

   compensatory and punitive damages are authorized by 42 U.S.C. §1983; N.J. Const. art.


                                               1
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 2 of 23 PageID: 130




   I,¶ 1; and N.J.S.A. §§10:6-2, 59:1-2, 59:8-3, 59:9-4.         If removed, This Court has

   supplemental jurisdiction over Plaintiff’s New Jersey state law claims pursuant to 28

   U.S.C. §1367(a).

   2.      Plaintiff’s claims for attorney’s fees are authorized by 42 U.S.C. §1988; N.J.

   Const. art. I,¶ 1; and N.J.S.A. §§10:6-2, 59:9-5.

   3.      Plaintiff’s claims for costs are authorized by Fed. R. Civ. P. 54(d)(1) and N.J.S.A.

   §10:6-2(f).

   4.      Plaintiff’s claims for civil penalties are authorized by N.J.S.A. §10:6-2(e).

   5.      Plaintiff’s claims for declaratory relief are authorized by 28 U.S.C. §§2201-2202;

   42 U.S.C. §1983; N.J. Const. Art. I,¶ 1; and N.J.S.A. §§10:6-2.


                          STATEMENT OF PRELIMINARY FACTS


    6.     Plaintiff Mario Rosario (hereinafter “Plaintiff Rosario”) is a citizen of the United

    States and was a resident of the Township of Edison, Middlesex County, State of New

    Jersey, and owner of a business along with several properties in the City of Perth Amboy

    at the time of this incident.

    7.     This is an action brought for the violation of Plaintiff Rosario’s civil rights under

    New Jersey and Federal Law and based upon the excessive, unjustified and unreasonable

    use of force inflicted on Plaintiff Rosario’s person during an unlawful seizure and/or

    arrest of his person, along with an illegal search of his person and business by

    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus of the Perth

    Amboy Police Department, State of New Jersey, and/or Special Agent Jeffrey Varon of

    the Department of Homeland Security, and/or other law enforcement officers (state


                                                 2
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 3 of 23 PageID: 131




    and/or federal) JOHN DOES 1-29 (Fictitious Individuals), and the City of Perth Amboy,

    Perth Amboy Police Department, and other law enforcement agencies (state and/or

    federal) ABC CORPS 1-30 (Fictitious Corps).

    8.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus of the

    Perth Amboy Police Department, State of New Jersey, and/or Special Agent Jeffrey

    Varon, and other law enforcement officers (state and/or federal) JOHN DOES 1-29

    (Fictitious Individuals), will at times herein be referred to collectively as “Defendants.”

    9.    Defendant(s) City of Perth Amboy, Perth Amboy Police Department, and other

    law enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious Corps)

    will at times herein be referred to collectively as “Entity Defendants.”

    10.   Plaintiff Rosario brings this civil rights action for compensatory and punitive

    damages, attorney fees, costs, as well as declaratory and injunctive relief, for injuries

    suffered as a consequence of the excessive, unjustified and unreasonable use of force

    inflicted on Plaintiff Rosario’s person during an unlawful seizure and/or arrest of his

    person, along with an illegal search of his person and business by Defendant(s) Officer

    Carmelo Jimenez, and/or Officer Jessica DeJesus of the Perth Amboy Police

    Department, State of New Jersey, and/or Special Agent Jeffrey Varon, and other law

    enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals),

    and the City of Perth Amboy, Perth Amboy Police Department, and other law

    enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious Corps).

    11.   Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and other

    law enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious

    Individuals), were at all times mentioned herein duly appointed and acting police



                                                 3
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 4 of 23 PageID: 132




    officers of the City of Perth Amboy, the Perth Amboy Police Department and/or other

    state and/or federal law enforcement agencies, and were at all times herein acting in such

    capacity as the agents, servants and/or employees of the City of Perth Amboy, Perth

    Amboy Police Department and/or other state and/or federal law enforcement agencies,

    while acting under the color of state and/or federal law.

    12.   Defendant(s) Special Agent Jeffrey Varon was at all times mentioned herein duly

    appointed and an acting law enforcement member of the Department of Homeland

    Security, a federal law enforcement agency, and was at all times herein acting in such

    capacity as the agent, servant and/or employee of the Department of Homeland Security,

    while acting under the color of state and/or federal law.

    13.   Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

    Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

    JOHN DOES 1-29 (Fictitious Individuals) and City of Perth Amboy, Perth Amboy

    Police Department, and other law enforcement agencies (state and/or federal) ABC

    CORPS 1-30 (Fictitious Corps) were acting in supervisory capacities during said

    incident, while acting under color of state and/or federal law.

    14.   The City of Perth Amboy is a duly designated municipality of the State of New

    Jersey, under the laws of the State of New Jersey.

    15.   The Department of Homeland Security is a cabinet department formed under the

    federal government.

    16.   At all times relevant hereto, Defendant(s) Officer Carmelo Jimenez, and/or

    Officer Jessica DeJesus, and/or Special Agent Jeffrey Varon, and/or other law

    enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals)



                                                4
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 5 of 23 PageID: 133




    and City of Perth Amboy, Perth Amboy Police Department, and other law enforcement

    agencies (state and/or federal) ABC CORPS 1-30 (Fictitious Corps) were responsible for

    the training, supervision, conduct and discipline of Defendant(s) Officer Carmelo

    Jimenez, and/or Officer Jessica DeJesus, and/or Special Agent Jeffrey Varon, and/or

    other law enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious

    Individuals).

    17.   Suit is brought against all individually named Defendant(s) in their personal

    and/or individual and/or official capacities.

    18.   At all relevant times hereto, all named Defendant(s) herein were acting under

    color of law, pursuant to statutes, constitutions, ordinances, regulations, polices and

    customs of the State of New Jersey and the United States.

    19.   Plaintiff Rosario has been a self-employed auto repair mechanic in the City of

    Perth Amboy for over fifty (50) years.

    20.   Plaintiff Rosario owns several properties in the City of Perth Amboy.

    21.   Plaintiff Rosario has no criminal record and has been an outstanding member of

    the Perth Amboy community for over fifty (50) years.

    22.   Plaintiff Rosario’s auto repair shop is located at 266 Fayette Street/351 Elm

    Street, Perth Amboy, NJ.

    23.   On July 6, 2017, Plaintiff Rosario was illegally and unlawfully seized and/or

    arrested by Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus,

    and/or Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or

    federal) JOHN DOES 1-29 (Fictitious Individuals).




                                                    5
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 6 of 23 PageID: 134




    24.   During Plaintiff Rosario’s illegal and unlawful seizure and/or arrest, he was

    assaulted by law enforcement officers (state and/or federal) JOHN DOES 1-29

    (Fictitious Individuals).

    25.   On July 6, 2017, Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica

    DeJesus, and/or Special Agent Jeffrey Varon, and/or other law enforcement officers

    (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals), entered Plaintiff

    Rosario’s auto repair shop and confronted him by pointing a gun at his face and telling

    him to get down on his knees.

    26.   Plaintiff Rosario was given no reason why he was requested to do so.

    27.   The same officers forced Plaintiff Rosario’s hands behind his back by twisting his

    arm, and then pushing him to the floor and handcuffing him behind his back.

    28.   Plaintiff Rosario continually informed Defendant(s) Officer Carmelo Jimenez,

    and/or Officer Jessica DeJesus, and/or Special Agent Jeffrey Varon, and/or other law

    enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals)

    that the officer who was handcuffing him was hurting him, and that he was just operated

    on the side of his chest to replace the battery on his defibrillator; these Defendants

    ignored Plaintiff Rosario’s pleas that they were hurting him.

    29.   Plaintiff Rosario again informed Defendants the officer who was handcuffing him

    was hurting him, and that he was just operated on the side of his chest to replace the

    battery on his defibrillator; these Defendants again ignored Plaintiff Rosario’s plea to

    stop because of the pain that was being inflicted on him.

    30.   Defendants did not conduct a Terry pat-down search for weapons prior to illegally

    and unlawfully seizing and/or arresting Plaintiff Rosario.



                                                6
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 7 of 23 PageID: 135




    31.   It was after Defendants illegally and unlawfully seized and/or arrested Plaintiff

    Rosario by placing him in handcuffs that they illegally searched his person and removed

    items from Plaintiff Rosario’s pockets, such as a telephone.

    32.   Defendants did not have an arrest warrant for Plaintiff Rosario when they illegally

    and unlawfully seized and/or arrested Plaintiff Rosario.

    33.   No evidence of illegal activity was seized prior to Plaintiff Rosario being illegally

    and unlawfully seized and/or arrested.

    34.   Plaintiff Rosario is an octogenarian with a heart condition, has no criminal record,

    has been an outstanding member of the Perth Amboy community for over fifty (50)

    years, and there was absolutely no indication whatsoever that he was a threat to any

    member of law enforcement prior to being illegally seized and/or arrested.

    35.   Defendants did not have a search warrant for Plaintiff Rosario’s property when

    they entered his auto repair shop and pointed a gun to his face.

    36.   Defendants did not have an arrest warrant for Plaintiff Rosario when they entered

    his auto repair shop and pointed a gun to his face.

    37.   Plaintiff Rosario was not ‘free to leave,’ and was under arrest from the point

    Defendants entered Plaintiff Rosario’s auto repair shop and confronted him by pointing

    a gun to his face and telling him to get down on his knees.

    38.   No probable cause existed for Plaintiff Rosario’s arrest.

    39.   No probable cause existed to search Plaintiff’s Rosario’s property.

    40.   While Plaintiff Rosario was in handcuffs and in pain from the illegal and unlawful

    excessive force being employed on Plaintiff Rosario, Defendants made him sign a paper




                                                7
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 8 of 23 PageID: 136




    for the search of his auto repair shop and stated to him that if he did not sign the paper

    they would arrest him.

    41.   Defendants searched Plaintiff Rosario’s property along with several police dogs

    and did not find one illegal piece of evidence.

    42.   No weapons were ever found or removed as part of any illegal search of Plaintiff

    Rosario’s person or business.

    43.   Once Defendants completed their search without finding anything illegal on

    Plaintiff Rosario’s person or his property, they released Plaintiff Rosario and left

    without saying a word.

    44.   As a result of the excessive, unjustified and unreasonable use of force, Plaintiff

    Rosario sustained multiple injuries, which includes, but is not limited to the following:

    Plaintiff Rosario just had surgery to replace the battery on his defibrillator and when

    Defendants pulled his arms behind his back, it caused him great pain where the surgery

    wounds were still fresh; Plaintiff Rosario’s shoulders were in severe pain due to the way

    he was forced down to the floor; Plaintiff Rosario still has severe pain in his shoulders

    and ligaments which still requires the care of a doctor.

    45.   Plaintiff Rosario owns several pieces of property in Perth Amboy, has no type of

    criminal history, had a great reputation among the citizens of Perth Amboy, and this

    incident has caused him severe bodily injury, humiliation, harassment, embarrassment

    and emotional distress.

    46.   No Defendant[s] intervened to stop the assault or illegal search of on Plaintiff

    Rosario or his business.




                                                8
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 9 of 23 PageID: 137




    47.   No Defendant[s] ordered or conducted an investigation into the injuries Plaintiff

    Rosario sustained from Defendants.

    48.   No Defendant[s] would identify themselves to Plaintiff Rosario or leave their

    names for Plaintiff Rosario.

    49.   Plaintiff Rosario knows Defendant(s) Officer Carmelo Jimenez and Officer

    Jessica DeJesus from being involved in the Perth Amboy community.

    50.   Defendants will not provide information as to the identities of the remaining

    Individuals who used excessive, unjustified and unreasonable force on Plaintiff

    Rosario’s person and/or engaged in the unlawful seizure and/or arrest of his person,

    along with the illegal search of his business.

                                      Count One
     Section 1983 Excessive Force; Unlawful Search; Unlawful Seizure and/or Arrest.

    51.   Plaintiff incorporates herein by reference hereto the allegations above as if set

    forth herein at length.

    52.   Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus of the

    Perth Amboy Police Department, State of New Jersey, and/or Special Agent Jeffrey

    Varon, and/or JOHN DOES 1-29 (Fictitious Individuals) utilized excessive, unjustified

    and unreasonable force upon Plaintiff Rosario’s person.

    53.   Under the circumstances, the conduct of Defendant(s) Officer Carmelo Jimenez,

    and/or Officer Jessica DeJesus of the Perth Amboy Police Department, State of New

    Jersey, and/or Special Agent Jeffrey Varon, and JOHN DOES 1-29 (Fictitious

    Individuals) was unreasonable and caused Plaintiff Rosario harm and physical injuries.

    54.   The aforementioned conduct of Defendant(s) Officer Carmelo Jimenez, and/or

    Officer Jessica DeJesus of the Perth Amboy Police Department, State of New Jersey,

                                                 9
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 10 of 23 PageID: 138




     and/or Special Agent Jeffrey Varon, and/or JOHN DOES 1-29 (Fictitious Individuals) is

     in violation of Plaintiff Rosario’s right to liberty, freedom from excessive and

     unreasonable use of force, and was committed under color of state and/or federal law.

     55.   Plaintiff Rosario sustained harm and was deprived of his rights to be secure in his

     person against unreasonable searches of his person and/or property, in violation of the

     Fourth and Fourteenth Amendments of the Constitution of the United States and U.S.C.

     Section 1983.

     56.   Plaintiff Rosario sustained harm and was deprived of his right to be secure in his

     person against unreasonable seizures and/or arrests of his person, in violation of the

     Fourth and Fourteenth Amendments of the Constitution of the United States and U.S.C.

     Section 1983.

     57.   As a direct and proximate result of the excessive, unjustified and unreasonable

     use of force, and the unlawful and illegal search, seizure and/or arrest of Plaintiff

     Rosario by Defendant(s) as set forth herein, Plaintiff Rosario suffered bodily injury,

     medical expenses, and will suffer additional special damages in the future in an amount

     which cannot yet be determined.

     58.   By reason of the above, Plaintiff Rosario was injured, suffered great mental

     anguish, and was deprived of his constitutional rights set forth above.

           WHEREFORE, the answering parties demand judgment against all Defendant(s)

     named herein, including JOHN DOES 1-29, and ABC CORPS 1-30, jointly and/or

     severally, for: (1) General damages, (2) Compensatory damages; (3) The remedies

     provided for under the common law and/or any state and/or federal statutes pled herein;

     (4) Any other applicable contractual or statutory penalties or consequential, incidental,



                                                10
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 11 of 23 PageID: 139




     nominal and expectation damages; (5) Lawful interest, attorney's fees, filing fees/court

     costs, other costs associated with this civil rights cause of action; (6) Punitive damages

     as to any non-statutory tort claims pled herein only; (7) Declaratory and Injunctive

     relief, and (8) such other and further relief as the court shall deem equitable and just.

                                                Count Two
                                     Section 1983 Failure to Intervene

    59.     Plaintiff Rosario incorporates herein by reference hereto the allegations above as

    if set forth herein at length.

     60.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

     JOHN DOES 1-29 (Fictitious Individuals), were at all times mentioned herein duly

     appointed and acting police officers of the City of Perth Amboy, the Perth Amboy

     Police Department and/or other state and/or federal law enforcement agencies, and at all

     times mentioned herein were acting under color of state and/or federal law.

     61.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

     JOHN DOES 1-29 (Fictitious Individuals) had a duty to intervene in the unjustified

     assault and unlawful use of force on Plaintiff Rosario by Defendants.

     62.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

     JOHN DOES 1-29 (Fictitious Individuals) had a duty to intervene in the unjustified

     search, seizure and/or arrest of Plaintiff Rosario by Defendants.

     63.    The unjustified assault and unlawful use of force on Plaintiff Rosario by

     Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or Special

                                                    11
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 12 of 23 PageID: 140




     Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal) JOHN

     DOES 1-29 (Fictitious Individuals) deprived Plaintiff Rosario of his right to liberty,

     freedom from excessive and unreasonable use of force, and was committed under color

     of state law.

     64.    The unjustified search, seizure, and/or arrest of Plaintiff Rosario by Defendant(s)

     Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or Special Agent Jeffrey

     Varon, and/or other law enforcement officers (state and/or federal) JOHN DOES 1-29

     (Fictitious Individuals) deprived Plaintiff Rosario of his constitutional rights, and was

     committed under color of state and federal law.

     65.    Plaintiff Rosario sustained harm and was deprived of his rights to be secure in his

     person against unreasonable search and seizure of his person and property, in violation

     of the Fourth and Fourteenth Amendments of the Constitution of the United States and

     U.S.C. Section 1983.

     66.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

     JOHN DOES 1-29 (Fictitious Individuals) had a reasonable opportunity to intervene in

     the illegal and unjustified search, seizure, arrest, assault and excessive use of force on

     Plaintiff Rosario by Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica

     DeJesus, and/or Special Agent Jeffrey Varon, and/or other law enforcement officers

     (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals), and failed to intervene.

     67.    As a direct and proximate cause of Defendant(s) Officer Carmelo Jimenez,

     and/or Officer Jessica DeJesus, and/or Special Agent Jeffrey Varon, and/or other law

     enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals)



                                                12
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 13 of 23 PageID: 141




     failure to intervene, Plaintiff Rosario suffered physical injury, medical expenses and

     mental anguish in connection with the deprivation of his constitutional rights guaranteed

     by the Fourth and Fourteenth Amendments to the Constitution of the United States and

     made actionable through 42 U.S.C. 1983.

            WHEREFORE, the answering parties demand judgment against all Defendant(s)

     named herein, including JOHN DOES 1-29, and ABC CORPS 1-30, jointly and/or

     severally, for: (1) General damages, (2) Compensatory damages; (3) The remedies

     provided for under the common law and/or any state and/or federal statutes pled herein;

     (4) Any other applicable contractual or statutory penalties or consequential, incidental,

     nominal and expectation damages; (5) Lawful interest, attorney's fees, filing fees/court

     costs, other costs associated with this civil rights cause of action; (6) Punitive damages

     as to any non-statutory tort claims pled herein only; (7) Declaratory and Injunctive

     relief, and (8) such other and further relief as the court shall deem equitable and just.

                                            Count Three
                                 Section 1983 Supervisory Liability

     68.    Plaintiff Rosario incorporates herein by reference hereto the allegations above as

     if set forth herein at length.

     69.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

     JOHN DOES 1-29 (Fictitious Individuals) were supervisory officials and/or officers in

     charge at the time Plaintiff Rosario was harmed.

     70.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)




                                                  13
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 14 of 23 PageID: 142




     JOHN DOES 1-29 (Fictitious Individuals) had a duty to prevent subordinate officers

     from violating the constitutional rights of Plaintiff Rosario.

     71.   Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

     Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

     JOHN DOES 1-29 (Fictitious Individuals) had knowledge of and acquiesced in his/her

     subordinate’s violation of Plaintiff Rosario’s constitutional rights.

     72.   As a direct and proximate cause of Defendant(s) Officer Carmelo Jimenez, and/or

     Officer Jessica DeJesus, and/or Special Agent Jeffrey Varon, and/or other law

     enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals) as

     set forth herein, Plaintiff Rosario suffered physical injury, medical expenses and mental

     anguish in connection with the deprivation of his constitutional rights guaranteed by the

     Fourth and Fourteenth Amendments to the Constitution of the United States and made

     actionable through 42 USC 1983.

           WHEREFORE, the answering parties demand judgment against all Defendant(s)

     named herein, including JOHN DOES 1-29, and ABC CORPS 1-30, jointly and/or

     severally, for: (1) General damages, (2) Compensatory damages; (3) The remedies

     provided for under the common law and/or any state and/or federal statutes pled herein;

     (4) Any other applicable contractual or statutory penalties or consequential, incidental,

     nominal and expectation damages; (5) Lawful interest, attorney's fees, filing fees/court

     costs, other costs associated with this civil rights cause of action; (6) Punitive damages

     as to any non-statutory tort claims pled herein only; (7) Declaratory and Injunctive

     relief, and (8) such other and further relief as the court shall deem equitable and just.




                                                  14
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 15 of 23 PageID: 143




                                       Count Four
      (Unlawful Policy, Custom, Practice, Inadequate Training, Failure to Discipline.)

     73.    Plaintiff Rosario incorporates herein by reference hereto the allegations above as

     if set forth herein at length.

     74.    Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and

     other law enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious

     Corps) are vested with the authority to make policy on the use of force, searches of

     persons and property, effectuating arrests, police citizen encounters, training and

     discipline.

     75.    At all times mentioned herein, Defendant(s) Officer Carmelo Jimenez and Officer

     Jessica DeJesus, and other law enforcement officers (state and/or federal) JOHN DOES

     1-29 (Fictitious Individuals), as police officers, agents, servants and/or employees of

     Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and other law

     enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious Corps), and

     were acting pursuant to the official policy, practice or custom of the “Entity

     Defendants.”

     76.    Acting under color of law pursuant to official policy, practice, or custom,

     Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and other law

     enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious Corps)

     intentionally, knowingly, recklessly and/or with deliberate indifference failed to train,

     instruct, supervise, control, and/or discipline, on a continuing basis Defendant(s) Officer

     Carmelo Jimenez and Officer Jessica DeJesus, and other law enforcement officers (state

     and/or federal) JOHN DOES 1-29 (Fictitious Individuals) in their duties to refrain from:

     (1) unlawfully and maliciously assaulting, arresting and harassing citizens; (2)

                                                15
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 16 of 23 PageID: 144




     intentionally, recklessly and/or negligently misrepresenting the facts of arrests and/or

     other police-citizen encounters; (3) falsifying police and/or other official records; (4)

     withholding and/or mishandling evidence; (5) making false arrests; (6) conducting

     unlawful searches and/or seizures of persons and/or properties; and/or (7) using

     unreasonable and excessive use of force.

     77.   Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and

     other law enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious

     Corps) were aware of numerous similar police citizen encounters involving Defendant(s)

     Officer Carmelo Jimenez and Officer Jessica DeJesus, and other law enforcement

     officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals) whereby they

     customarily and frequently subjected citizens held in custody to physical and mental

     abuse; unlawfully and maliciously assaulted, arrested and harassed citizens;

     intentionally, recklessly and/or negligently misrepresented the facts of arrests and/or

     other police-citizen encounters; falsified police and/or official records; made false

     arrests, mishandled and/or withheld evidence and/or conducted unlawful searches of

     persons and/or properties; used unreasonable and excessive force on citizens/arrestees.

     78.   Despite their awareness, Defendant(s) the City of Perth Amboy, Perth Amboy

     Police Department, and other law enforcement agencies (state and/or federal) ABC

     CORPS 1-30 (Fictitious Corps) failed to employ any type of corrective or disciplinary

     measures against Defendant(s) Officer Carmelo Jimenez and Officer Jessica DeJesus,

     and other law enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious

     Individuals).




                                                16
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 17 of 23 PageID: 145




     79.   Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and

     other law enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious

     Corps) had knowledge of, or, had they diligently exercised their duties to instruct, train,

     supervise, control, and discipline Defendant(s) Officer Carmelo Jimenez and Officer

     Jessica DeJesus, and other law enforcement officers (state and/or federal) JOHN DOES

     1-29 (Fictitious Individuals)on a continuing basis, should have had knowledge that the

     wrongs which were done, as heretofore, were about to be committed.

     80.   Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and

     other law enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious

     Corps) had the power to prevent or aid in preventing the commission of said wrongs,

     could have done so by reasonable diligence, and intentionally, knowingly, recklessly

     and/or with deliberate indifference failed to do so.

     81.   Defendant(s) the City of Perth Amboy, Perth Amboy Police Department, and

     other law enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious

     Corps), directly or indirectly, under color of state law, approved or ratified the unlawful,

     deliberate, malicious, reckless, and wanton conduct of Defendant(s) Officer Carmelo

     Jimenez and Officer Jessica DeJesus, and other law enforcement officers (state and/or

     federal) JOHN DOES 1-29 (Fictitious Individuals) heretofore described.

     82.   As a direct and proximate result of the acts and/or omissions of Defendant(s) as

     set forth herein, Plaintiff Rosario suffered physical injury, medical expenses and mental

     anguish in connection with the deprivation of his constitutional rights guaranteed by the

     Fourth and Fourteenth Amendments to the Constitution of the United States and

     protected by 42 U.S.C. Section 1983.



                                                 17
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 18 of 23 PageID: 146




            WHEREFORE, the answering parties demand judgment against all Defendant(s)

     named herein, including JOHN DOES 1-29, and ABC CORPS 1-30, jointly and/or

     severally, for: (1) General damages, (2) Compensatory damages; (3) The remedies

     provided for under the common law and/or any state and/or federal statutes pled herein;

     (4) Any other applicable contractual or statutory penalties or consequential, incidental,

     nominal and expectation damages; (5) Lawful interest, attorney's fees, filing fees/court

     costs, other costs associated with this civil rights cause of action; (6) Punitive damages

     as to any non-statutory tort claims pled herein only; (7) Declaratory and Injunctive

     relief, and (8) such other and further relief as the court shall deem equitable and just.



                           SUPPLEMENTAL STATE LAW CLAIMS

                                          Count Five
                       Violation of New Jersey Civil Rights Act (NJCRA)

    83.     Plaintiff Rosario incorporates herein by reference hereto the allegations above as

    if set forth herein at length.

    84.     The excessive force used by Defendant(s) Officer Carmelo Jimenez, and/or

    Officer Jessica DeJesus of the Perth Amboy Police Department, State of New Jersey,

    and/or Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or

    federal) JOHN DOES 1-29 (Fictitious Individuals), and the City of Perth Amboy, Perth

    Amboy Police Department, and other law enforcement agencies (state and/or federal)

    ABC CORPS 1-30 (Fictitious Corps), as set forth at length above, deprived Plaintiff

    Rosario of his constitutional right to be free from unlawful seizure of his person and his

    fundamental right to liberty secured by the Constitution of the United States and the




                                                  18
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 19 of 23 PageID: 147




    Constitution of the State of New Jersey, in violation of N.J.S.A. 10:6-1, et. seq. (“The

    New Jersey Civil Rights Act”).

    85.    The unlawful search, seizure and/or arrest of Plaintiff Rosario by Defendant(s)

    Officer Carmelo Jimenez, and/or Officer Jessica DeJesus of the Perth Amboy Police

    Department, State of New Jersey, and/or Special Agent Jeffrey Varon, and/or other law

    enforcement officers (state and/or federal) JOHN DOES 1-29 (Fictitious Individuals),

    and the City of Perth Amboy, Perth Amboy Police Department, and other law

    enforcement agencies (state and/or federal) ABC CORPS 1-30 (Fictitious Corps), as set

    forth at length above, deprived Plaintiff Rosario of his constitutional right to be free from

    unlawful seizure of his person and his fundamental right to liberty secured by the

    Constitution of the United States and the Constitution of the State of New Jersey, in

    violation of N.J.S.A. 10:6-1, et. seq. (“The New Jersey Civil Rights Act”).

    86.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

    Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

    JOHN DOES 1-29 (Fictitious Individuals) failure to intervene, as set forth at length

    above, deprived Plaintiff Rosario of his constitutional rights under the Constitution of the

    United States and the Constitution of the State of New Jersey, and in violation of N.J.S.A.

    10:6-1, et. seq. (“The New Jersey Civil Rights Act”).

    87.    Defendant(s) Officer Carmelo Jimenez, and/or Officer Jessica DeJesus, and/or

    Special Agent Jeffrey Varon, and/or other law enforcement officers (state and/or federal)

    JOHN DOES 1-29 (Fictitious Individuals) failure to supervise, as set forth at length

    above, deprived Plaintiff Rosario of his constitutional rights under the Constitution of the




                                                 19
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 20 of 23 PageID: 148




    United States and the Constitution of the State of New Jersey, and in violation of N.J.S.A.

    10:6-1, et. seq. (“The New Jersey Civil Rights Act”).

    88.     Entity Defendants’ Unlawful Policy, Custom, Practice, Inadequate Training, and

    Failure to Discipline, as set forth at length above, deprived Plaintiff Rosario of his

    constitutional rights under the Constitution of the United States and the Constitution of

    the State of New Jersey, and in violation of N.J.S.A. 10:6-1, et. seq. (“The New Jersey

    Civil Rights Act”).

    89.     As a direct and proximate result of the aforesaid acts and/or omissions of all

    named Defendant(s), Plaintiff Rosario suffered physical injury, medical expenses and

    mental anguish.

            WHEREFORE, the answering parties demand judgment against all Defendant(s)

    named herein, including JOHN DOES 1-29, and ABC CORPS 1-30, jointly and/or

    severally, for: (1) General damages, (2) Compensatory damages; (3) The remedies

    provided for under the common law and/or any state and/or federal statutes pled herein;

    (4) Any other applicable contractual or statutory penalties or consequential, incidental,

    nominal and expectation damages; (5) Lawful interest, attorney's fees, filing fees/court

    costs, other costs associated with this civil rights cause of action; (6) Punitive damages as

    to any non-statutory tort claims pled herein only; (7) Declaratory and Injunctive relief,

    and (8) such other and further relief as the court shall deem equitable and just.

                                            Count Six
                                         Civil Conspiracy

    90.     Plaintiff Rosario incorporates herein by reference hereto the allegations above as

    if set forth herein at length.




                                                 20
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 21 of 23 PageID: 149




    91.       Defendants engaged in a civil conspiracy of an after the fact cover up, and/or civil

    conspiracy of silence to deprive Plaintiff Rosario of his civil rights which include,

    excessive force, and/or unreasonable search and seizure, and/or his Due Process Right to

    be heard in an impartial forum and/or the right of access and/or seek redress from the

    courts.

    92.       As a direct and proximate result of the acts and/or omissions of Defendant(s) as

    set forth herein, Plaintiff Rosario suffered physical injury, medical expenses and mental

    anguish in connection with the deprivation of his constitutional rights guaranteed by the

    Fourth and Fourteenth Amendments to the Constitution of the United States and

    protected by 42 U.S.C. Section 1983, and under the Constitution of the State of New

    Jersey, and in violation of N.J.S.A. 10:6-1, et. seq. (“The New Jersey Civil Rights Act”).

              WHEREFORE, the answering parties demand judgment against all Defendant(s)

    named herein, including JOHN DOES 1-29, and ABC CORPS 1-30, jointly and/or

    severally, for: (1) General damages, (2) Compensatory damages; (3) The remedies

    provided for under the common law and/or any state and/or federal statutes pled herein;

    (4) Any other applicable contractual or statutory penalties or consequential, incidental,

    nominal and expectation damages; (5) Lawful interest, attorney's fees, filing fees/court

    costs, other costs associated with this civil rights cause of action; (6) Punitive damages as

    to any non-statutory tort claims pled herein only; (7) Declaratory and Injunctive relief,

    and (8) such other and further relief as the court shall deem equitable and just.




                                                  21
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 22 of 23 PageID: 150




                                        JURY DEMAND

            PLEASE TAKE NOTICE that Plaintiff hereby demands a trial by jury of six (6)

    persons on all triable issues within the Complaint, pursuant to Rule 1:8-2(b) and Rule

    4:35-1(a).

                            DESIGNATION OF TRIAL COUNSEL

            Pursuant to Rule 4:25-4, plaintiffs designate Kevin T. Flood, Esq., as trial counsel

    in this case.

                            DEMAND FOR INTERROGATORIES


            DEMAND is hereby made of Defendants for certified answers to interrogatories

    which shall be served upon Defendants upon each Defendant answering.


                 DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

            Pursuant to R. 4:10-2(b), demand is made that Defendants disclose to Plaintiff’s

    attorney whether or not there are any insurance agreements or policies under which any

    person or firm carrying on an insurance business may be liable to satisfy part or all of a

    judgment which may be entered in this action or indemnify or reimburse for payments

    made to satisfy the judgment and provide Plaintiff’s attorney with true copies of those

    insurance agreements or policies, including, but not limited to, any and all declaration

    sheets. This demand shall include and cover not only primary coverage, but also any and

    all excess, catastrophe and umbrella policies.



                       CERTIFICATION PURSUANT TO RULE 4:5-1

            KEVIN T. FLOOD certifies as follows:



                                                22
Case 2:19-cv-16700-JMV-JBC Document 20 Filed 07/27/20 Page 23 of 23 PageID: 151




           The matter in controversy is not the subject of any other action pending in any

    other CIVIL Court or of a pending arbitration, and no such other action or arbitration

    proceeding is contemplated.

           I further certify that I am not aware of any non-party who should be joined in the

    action pursuant to R. 4:28 or who is subject to joinder pursuant to R. 4:29-1(b).

           The foregoing statements made by me are true. I am aware that if any of the

    foregoing statements made by me are willfully false, I am subject to punishment.


                                                  LAW OFFICE OF KEVIN T. FLOOD, LLC
                                                  Attorneys for Plaintiffs,

                                                  By: S/ Kevin T. Flood
                                                      KEVIN T. FLOOD, ESQ.

    Dated: July 27, 2020




                                                23
